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    8
    9                       UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11
        WARNER BROS.                            Case No. 2:20-cv-02416-JAK-PLA
   12   ENTERTAINMENT INC., a
        Delaware corporation,                   The Honorable John A. Kronstadt
   13
                    Plaintiff,                  PLAINTIFF WARNER BROS.
   14         v.                                ENTERTAINMENT INC.’S
                                                OPPOSITION TO DEFENDANTS
   15   RANDOM TUESDAY, INC., a                 BRIAN AND DAWN BIGGS’
        Connecticut corporation, dba            MOTION TO DISMISS
   16   HOGWARTS RUNNING CLUB,                  COMPLAINT
        CHILTON RUNNING CLUB, and
   17   POTTERHEAD RUNNING CLUB;                [Opposition to Random Tuesday’s
        BRIAN BIGGS, an individual; and         Motion to Dismiss Complaint; Request
   18   DAWN BIGGS, an individual,              for Judicial Notice; and Declaration of
                                                Alice S. Kim with Exhibits A-B, filed
   19               Defendants.                 concurrently]
   20
                                                Hearing Date:      October 26, 2020
   21                                           Hearing Time:      8:30 a.m.
                                                Courtroom:         10B
   22
                                                Action Filed: March 13, 2020
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    1                               I.      INTRODUCTION
    2         In defendant Random Tuesday, Inc.’s Motion to Dismiss (the “RT Motion”)
    3 (ECF No. 22), it concedes that its Harry Potter and Gilmore Girls-themed business
    4 “has manifested [defendants Brian and Dawn Biggs’] love for the Harry Potter
    5 book and film series, as well as the Gilmore Girls series.” Def. Random Tuesday’s
    6 Mem. in Supp. of Mot. to Dismiss (“RT Mot.”) 1, ECF No. 22-1. Nevertheless, in
    7 a separate Rule 12 motion that easily could have been combined with Random
    8 Tuesday’s motion, Brian and Dawn Biggs argue that the Complaint against them
    9 should be dismissed because it fails to adequately allege their participation in their
   10 own closely-held company’s infringement. In addition to being legally deficient,
   11 Brian and Dawn Biggs’ Motion to Dismiss fails to square its position in this
   12 Motion with the judicial admission in the RT Motion that the use of Warner Bros.’
   13 intellectual property “manifested [their] love” of Harry Potter and Gilmore Girls,
   14 nor do they provide any explanation as to who, other than they, made every
                                                                                        1
   15 decision that led to the infringement that is the subject matter of the Complaint.
   16         In addition, as in the RT Motion, Brian and Dawn Biggs set forth a litany of
   17 misdirected pleading critiques, in service of what is, despite references to Rules
   18 12(b) and 12(f) of the Federal Rules of Civil Procedure, at bottom an elaborate
   19 motion for a more definite statement, prematurely demanding evidentiary detail
   20 more properly sought in the discovery process. Just as the company they own and
   21 run cannot credibly complain that it is not on notice of what plaintiff Warner Bros.
   22 is suing about, so, too, is there no basis for Brian and Dawn Biggs to claim that the
   23 Complaint fails to apprise them of what they are being sued for, leaving them so at
   24
   25   1 Brian
              and Dawn Biggs join and reiterate many of the arguments made in the RT
      Motion. See Defs. Brian and Dawn Biggs’ Mem. in Supp. of Mot. to Dismiss
   26 (“Biggs Mot.”) 3, 7-9, ECF No. 23-1; see also RT Mot. 20. For brevity, Warner
   27 Bros. incorporates by reference herein the arguments and relevant factual
      background set forth in its concurrently-filed Opposition to the RT Motion (the
   28 “RT Opposition”).
                                                   1
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    1 sea that they “cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e).
    2           After many months of correspondence and conference calls—as well as an
    3 in-person meeting at Warner Bros.—with Brian and Dawn Biggs and their two
    4 intellectual property lawyers, in March 2020 Warner Bros. filed a 52-page
    5 complaint containing 91 paragraphs of detailed factual allegations. The Complaint
    6 specifically identifies numerous trademarks and copyrights—by name, registration
    7 number, and registration date—that have been infringed by the actions of Brian
    8 Biggs, Dawn Biggs, and their company Random Tuesday (collectively,
    9 “Defendants”). The Complaint describes in detail Warner Bros.’ use in commerce
   10 of those marks, as well as its extensive efforts to provide immersive themed
   11 experiences to fans of the Harry Potter and Gilmore Girls entertainment
   12 franchises—ends that Defendants have embraced in aiming to immerse their
   13 running club members in the Harry Potter or Gilmore Girls fictional universes for
   14 commercial gain.
   15           The Complaint also describes in detail the goods and services Defendants
   16 offer the public that Warner Bros. contends are infringing, and—in more than 50
   17 instances across 25 numbered paragraphs—the Complaint provides side-by-side
   18 comparisons showing the allegedly infringing items and/or direct quotations of
   19 Defendants’ own statements. For Brian and Dawn Biggs to assert now that they
   20 cannot reasonably determine what they are being accused of and cannot reasonably
                                                 2
   21 prepare a responsive pleading is farcical.
   22
   23
   24   2 The Complaint’s allegations go far beyond Rule 8’s minimum notice pleading
   25   requirement and provide more than enough factual detail for Brian and Dawn
        Biggs to prepare a responsive pleading, as required by Rule 12(e). Defendants also
   26   have offered no basis for striking any of the Complaint’s allegations, as required
   27   by Rule 12(f). Thus, to the extent they purport to move in the alternative for a
        more definite statement and/or move to strike, these requests also should be
   28   denied.
                                                  2
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    1                                II.      ARGUMENT
    2 A.      Applicable Pleading Standards.
    3         Both Motions filed by Defendants present a tangle of arguments taking issue
    4 primarily with the phrasing of Warner Bros.’ Complaint allegations—sometimes
    5 asking for more evidentiary detail, elsewhere challenging isolated phrases (such as
    6 “among others”). The pleading standards applicable to Rule 12 have developed
    7 largely to discourage, rather than reward, this sort of exercise.
    8         In considering a motion to dismiss under Rule 12(b)(6), courts must accept
    9 as true all of the factual allegations in the complaint. Ashcroft v. Iqbal, 556 U.S.
   10 662, 696 (2009). The critical question is whether, assuming the factual allegations
   11 are true, the plaintiff has stated a plausible claim for relief. Id. In reviewing the
   12 allegations, courts must “construe the pleadings in the light most favorable to the
   13 nonmoving party” and “draw[] all reasonable inferences in favor of the plaintiff.”
   14 Association for Los Angeles Deputy Sheriffs v. County of Los Angeles, 648 F.3d
   15 986, 991 (9th Cir. 2011). Dismissal is proper only “if there is a lack of a
   16 cognizable legal theory or the absence of sufficient facts alleged under a
   17 cognizable legal theory.” Conservation Force v. Salazar, 646 F.3d 1240, 1242
   18 (9th Cir. 2011) (citation and quotation omitted).
   19         It is even more difficult to prevail on a motion for a more definite statement.
   20 Under the plain language of the Rule, such a motion should be granted only where
   21 the complaint is “so vague or ambiguous that the [moving] party cannot reasonably
   22 prepare a response.” Fed. R. Civ. P. 12(e). “Motions for a more definite statement
   23 are viewed with disfavor and are rarely granted because of the minimal pleading
   24 requirements of the Federal Rules.” Sagan v. Apple Computer, Inc., 874 F. Supp.
   25 1072, 1077 (C.D. Cal. 1994). Because a motion for a more definite statement
   26 “must be considered in light of the liberal pleading standards of Rule 8(a),” it
   27 “should not be granted unless the defendant literally cannot frame a responsive
   28 pleading.” Bureerong v. Uvawas, 922 F. Supp. 1450, 1461 (C.D. Cal. 1996). So
                                                3
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    1 long as the complaint is intelligible enough to apprise the defendant of the
    2 substance of the claim being asserted, the motion should be denied. See EEOC v.
    3 Alia Corp., 842 F. Supp. 2d 1243, 1250 (E.D. Cal. 2012). Rule 12 motions are not
    4 substitutes for discovery, and if the detail sought in a Rule 12(e) motion is
    5 obtainable through discovery, the motion should be denied. E.g., id.; Beery v.
                                                                                             3
    6 Hitachi Home Electronics (America), Inc., 157 F.R.D. 477, 480 (C.D. Cal. 1993).
    7         Rule 12(f) motions to strike are also disfavored, especially where, as here,
    8 the moving party is not prejudiced by the language in question. See Neilson v.
    9 Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1152 (C.D. Cal. 2003) (“Motions
   10 to strike are generally regarded with disfavor because of the limited importance of
   11 pleading in federal practice, and because they are often used as a delaying tactic.”);
   12 see also Amstead v. City of Los Angeles, 66 F. Supp. 3d 1254, 1273 (C.D. Cal.
   13 2014).
   14 B.      The Complaint Adequately Pleads that Brian and Dawn Biggs Are
   15         Personally Liable for the Alleged Infringement and Other Misconduct.
   16         It is black-letter law that a corporate officer cannot “hide behind the
   17 corporation where he is an actual participant in the tort.” Coastal Abstract Serv.,
   18 Inc. v. First Am. Title Ins. Co., 173 F.3d 725, 734 (9th Cir. 1999) (citation and
   19 quotation omitted). “A corporate officer or director is, in general, personally liable
   20 for all torts which he authorizes or directs or in which he participates,
   21 notwithstanding that he acted as an agent of the corporation and not on his own
   22 behalf.” Digby Adler Grp. LLC v. Image Rent a Car, Inc., 79 F. Supp. 3d 1095,
   23 1104 (N.D. Cal. 2015) (citation and quotation omitted). In the intellectual property
   24 context, it is “well established that a corporate officer will be liable as a joint
   25 tortfeasor with the corporation … where the officer was the dominant influence in
   26
        3 Similarly,
                  such motions are not proper vehicles for resolving merits issues: those
   27
      issues should be left for summary judgment or for trial, after full discovery. One
   28 Industries, LLC v. Jim O’Neal Distrib., Inc., 578 F.3d 1154, 1160 (9th Cir. 2009).
                                                 4
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    1 the corporation, and determined the policies which resulted in the infringement.”
    2 Foreverendeavor Music, Inc. v. S.M.B., Inc., 701 F. Supp. 791, 793-94 (W.D.
    3 Wash. 1988) (citation and quotation omitted); see also Deckers Outdoor Corp. v.
    4 Bright Trading Corp., 2014 WL 12564124, at *2, *4 (C.D. Cal. Apr. 28, 2014)
    5 (corporate officers who “are a moving, active conscious force behind the
    6 corporation’s infringement”—i.e., who “actively participate[] as a moving force in
    7 the decision to engage in the infringing acts, or otherwise caused the infringement
    8 as a whole to occur”—can be personally liable) (citations omitted).
    9         Here, Random Tuesday is a small, closely held, family-run business. It is
   10 wholly owned by the married couple who founded it in 2014—husband Brian
   11 Biggs and wife Dawn Biggs. Brian Biggs is also the Chief Executive Officer of
   12 the company, and Dawn Biggs is the Chief Creative Officer. See Complaint
   13 (“Cmplt.”) ¶¶ 15, 17, 24, ECF No. 1. Together, they run the show. Indeed, they
   14 are the show.
   15         As alleged in the Complaint, they “direct[] and control[]” every aspect of
   16 Random Tuesday’s business, including by “knowingly direct[ing] Random
   17 Tuesday, Inc. to offer infringing merchandise for sale.” Id. ¶¶ 15, 17; see also id.
   18 ¶ 24. They also are the face and voice of the company—speaking for it on
   19 Random Tuesday’s website and social media platforms, on their own personal
   20 social media platforms, in interviews, and at public events, including conventions
   21 and “meet-ups” with members and customers, in order to promote Random
   22 Tuesday’s infringing events and infringing merchandise. See id. ¶¶ 16, 18. Brian
   23 and Dawn Biggs also spoke for the company when they falsely represented to a
   24 consumer that Random Tuesday’s running clubs were affiliated with and approved
                        4
   25 by Warner Bros.
   26
      4 In August 2019, a consumer complained to Warner Bros. that “she was induced to
   27 contribute substantial sums of money to Defendants’ business because she
   28 mistakenly believed … ‘all their material has been approved by WB.’” Cmplt. ¶ 8.
      As alleged, “[w]hen the consumer raised concerns to Defendants, Defendants
                                                5
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    1         Defendants disregard these well-pled facts entirely and first claim that
    2 Warner Bros. has “utterly failed to allege anything other than conclusory
    3 statements” and then claim that the “more specific allegations” that Warner Bros.
    4 did allege “are wholly unrelated to participating in any infringement or other unfair
    5 competition or only support that the Biggses acted to promote RTI’s business
    6 generally.” Biggs Mot. 3-5. They then rely on factually dissimilar cases in which
    7 the corporate defendants were significantly larger companies and the complaints
    8 contained no (or nearly no) specific factual allegations regarding the individual
    9 defendants at all. E.g., Deckers, 2014 WL 12564124, at *1, *2, *4; Arcona, Inc. v.
   10 Farmacy Beauty, LLC, 2018 WL 1441155, at *1, *11 (C.D. Cal. Mar. 22, 2018).
   11         In Deckers, for example, only two allegations were made: (1) the individual
   12 defendants were members, officers, directors, and/or managing agents of the
   13 corporate defendants, and (2) they were the “‘active, moving, conscious forces’
   14 behind the alleged patent infringement.” Deckers, 2014 WL 12564124, at *2.
   15 Similarly, the Arcona court, which acknowledged that participation “may be a
   16 direct action but is also satisfied by the knowing approval or ratification of
   17 unlawful acts,” found “summary assertions” of direction and authorization of the
   18 corporate defendant’s infringing conduct insufficient to establish personal liability.
   19 Arcona, 2018 WL 1441155, at *10-11 (citation and quotation omitted). In Arcona,
   20 the individual defendants also offered rebutting facts: they explained they had
   21 hired a consultant to develop the allegedly infringing product and they had not
   22 advised the consultant in either naming the product or developing the subsequent
                                  5
   23 marketing plan. Id. at *1. Here, by contrast, Brian and Dawn Biggs have not
   24
      reportedly assured her that they had Warner Bros.’ ‘permission for proprietary
   25 material’ and that they ‘work daily with the WB legal team.’” Id.
   26   Likewise, in Apple Hill Growers v. El Dorado Orchards, 2019 WL 5827365
        5

   27 (E.D. Cal. Nov. 7, 2019), the court found that, other than alleging certain corporate
      roles and ownership, the complaint “provide[d] no facts about specific actions
   28 taken” by the individual defendants. Id. at *3.
                                                6
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    1 offered—and cannot offer—any rebutting facts, because they created the infringing
    2 events and merchandise, personally promoted the infringing events and
    3 merchandise via Random Tuesday’s Internet presence as well as their own, and,
    4 importantly, personally made (false) representations regarding the infringing nature
    5 of the business. See Cmplt. ¶¶ 8, 15-18, 24.
    6         Courts are inclined to find personal liability where, as here, the individual
    7 defendants are the sole owners and executives and are solely responsible for the
    8 day-to-day operations of the infringing company. In Digby Adler, for example, the
    9 court found an individual defendant personally liable because he was responsible
   10 for, among other things, advertising and marketing, managing the website and
   11 Internet accounts, day-to-day operations, and supervising employees, and because
   12 he also personally participated in events leading to the infringement. Digby Adler,
   13 79 F. Supp. 3d at 1104-05.
   14         Similarly here, Brian and Dawn Biggs are and have been responsible for
   15 advertising and marketing, managing the website and Internet accounts, day-to-day
   16 operations, and—to the extent there are any other employees—Brian and Dawn
   17 Biggs unquestionably supervise them. Moreover, as alleged in the Complaint,
   18 Brian and Dawn Biggs personally participated in events leading to the
   19 infringement as well as the infringement itself. See Cmplt. ¶¶ 15-18, 24.
   20         While Brian and Dawn Biggs complain that Warner Bros. has failed to
   21 provide sufficient facts, they noticeably do not deny that they are personally
   22 responsible for the infringement alleged in the Complaint, nor do they offer any
   23 alternative explanation for how the alleged infringement could have occurred or
   24 who else could have directed it. See Biggs Mot. 3-5. Indeed, Brian and Dawn
   25 Biggs have given no indication that the company has any other employees, let
   26 alone full-time, senior and/or managerial employees with the authority to
   27 independently carry out the unlawful actions alleged in the Complaint. See id.
   28 And in any event, Random Tuesday cannot remotely be compared with the kind of
                                                7
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    1 far-flung enterprise where a rogue employee might be able to engage in copyright
    2 or trademark infringement without the knowledge, direction, or control of the
    3 owners and chief executives of the business.
    4         To the contrary, it is clear that no one at Random Tuesday other than Brian
    5 and Dawn Biggs conceivably could have directed the infringement. See Cmplt.
    6 ¶¶ 15-18, 24. The alleged infringing activities—from the branding of the running
    7 clubs themselves, to the content of the website and social media webpages, to the
    8 offering for sale of infringing merchandise—all are squarely within the bailiwick
    9 of the Chief Executive Officer and Chief Creative Officer. See id. There are no
   10 other plausible candidates. And even if there were, for purposes of this Motion,
   11 Warner Bros. has adequately and specifically pled that Brian and Dawn Biggs
   12 “knowingly direct[] Random Tuesday, Inc. to offer infringing merchandise for sale
   13 and shipping ….” Id. ¶¶ 15, 17. This allegation alone more than meets the
   14 pleading requirements.
   15         The Complaint allegations discussed above are reinforced by Random
   16 Tuesday’s publicly filed (and judicially noticeable) federal tax forms, which
   17 confirm that the business does not have any other owners, compensated corporate
   18 officers, compensated corporate directors, or senior employees. See generally
   19 Request for Judicial Notice (“RJN”), Exs. A-B; see also Biggs Mot. 2 (conceding
   20 Brian Biggs has worked full-time at Random Tuesday since 2016). Indeed, in
   21 2018, Brian and Dawn Biggs elected to pay themselves an annual salary of
   22 $100,000 each—presumably to compensate themselves for their extensive and
   23 direct participation in and control over all aspects of Random Tuesday’s business.
   24 RJN, Ex. B at 7; see also id., Ex. A at 7 ($121,250 salary for Brian Biggs in 2017;
                                 6
   25 $78,750 for Dawn Biggs).
   26
      6 Because Brian and Dawn Biggs can be held personally liable for direct
   27 participation, the Court need not reach any “piercing the corporate veil” analysis,
   28 and Warner Bros. need not satisfy those requirements. See Daimler AG v. A-Z
      Wheels LLC, 2017 WL 9854427, at *3 (S.D. Cal. Nov. 27, 2017); see also PMC,
                                                8
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    1         In short, Brian and Dawn Biggs are the only founders, the only owners, the
    2 only compensated officers, the only compensated directors, and quite possibly the
    3 only full-time employees—certainly the only employees with decision-making
    4 authority. See generally RJN, Exs. A-B; see also, e.g., Cmplt. ¶¶ 15-18, 24; Biggs
    5 Mot. 2; RT Mot. 1. At a minimum, Warner Bros. has presented a facially plausible
    6 allegation that Brian and Dawn Biggs knowingly approved, actively participated
    7 in, and/or personally directed the infringing activities described in the Complaint,
    8 thereby making them personally liable as joint tortfeasors. See Conservation
    9 Force, 646 F.3d at 1242 (plaintiffs need only state “facially plausible claim to
   10 relief” to survive a motion to dismiss).
   11 C.      Warner Bros. Has Adequately Pled Its Unfair Competition and
   12         False Advertising Claims under Federal and California Law.
                                                     7
   13         Defendants in their respective Motions attack Warner Bros.’ California
   14 unfair competition and false advertising claims, as well as its Lanham Act false
   15 advertising claim, with a scattershot array of technical pleading arguments that
   16 misstate the relevant law and fail to undermine the viability of any of the
   17 challenged claims. See Biggs Mot. 6; see also RT Mot. 13-16. Warner Bros.
   18 addresses all of these arguments here.
   19
   20 Inc. v. Kadisha, 78 Cal. App. 4th 1368, 1380 (2000). However, to the extent this
      analysis is relevant, full discovery would be the appropriate process.
   21
      Random Tuesday’s Form 990s strongly suggest that discovery would likely reveal
   22 this to be an appropriate case to disregard the corporate form altogether.
   23 Defendants concede they were first contacted by Warner Bros. in 2017. RT Mot.
      1. It surely is no coincidence that, at the same time a large potential litigation
   24 adversary and judgment creditor appeared on the scene, Brian and Dawn Biggs
      began paying themselves large annual salaries while allowing the company to
   25 become significantly undercapitalized. See RJN, Ex. B at 1 (indicating the
      accumulated deficit jumped in 2018 such that net assets were negative $307,997).
   26
   27 Because Defendants Random Tuesday, Brian Biggs, and Dawn Biggs make this
      7
      argument collectively, for ease of reference, Warner Bros. refers to Defendants
   28 collectively herein.
                                                9
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    1         1.    The Complaint Alleges a Viable California UCL Claim.
    2         Defendants argue the Complaint fails to satisfy the heightened pleading
    3 requirements of Rule 9(b) in alleging a viable claim under California’s Unfair
    4 Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq. See RT Mot.
    5 13-16; Biggs Mot. 5. It is well established, however, that there are three possible
    6 prongs for establishing liability under Section 17200: an “unlawful” prong, an
    7 “unfair” prong, and a “fraudulent” prong. See Cel-Tech Commc’ns, Inc. v. Los
    8 Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). Here, for the reasons set
    9 forth in Sections III.B and III.C of the RT Opposition, Warner Bros. has alleged
   10 viable claims for trademark infringement and trademark dilution, and it is well
   11 settled that a violation of the Lanham Act may serve as the predicate “unlawful
   12 conduct” required to establish a violation of California’s UCL. See, e.g., Obesity
   13 Research Inst., LLC v. Fiber Research Int’l, LLC, 165 F. Supp. 3d 937, 953 (S.D.
   14 Cal. 2016) (Lanham Act violation satisfied “unlawful” prong of UCL); Plascencia
   15 v. Lending 1st Mortg., 583 F. Supp. 2d 1090, 1098 (N.D. Cal. 2008) (“Violation of
   16 almost any federal, state, or local law may serve as the basis for a UCL claim.”).
   17         A plaintiff need only satisfy one of the statute’s three prongs to state a viable
   18 claim. See Rubio v. Capital One Bank, 613 F.3d 1195, 1203 (9th Cir. 2010).
   19 There is no requirement that a UCL claim based on the “unlawful” prong of the
   20 statute satisfy Rule 9(b). See Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1105-
   21 06 (9th Cir. 2003). Likewise, Defendants’ objection that Warner Bros. has not
   22 alleged “an incipient violation of an antitrust law” or other anticompetitive conduct
   23 under the “unfair” prong is beside the point. RT Mot. 15. Because the
   24 Complaint’s robust allegations of trademark infringement and dilution satisfy the
                                                                                            8
   25 “unlawful” prong of the statute, there is no basis for dismissal of the UCL claim.
   26
      8 Defendants also seek dismissal of the UCL claim “to the extent WB seeks
   27 monetary damages as a remedy.” RT Mot. 16. Warner Bros. is not seeking
   28 monetary damages as a remedy for its UCL claim: it simply alleged in the body of
      the Complaint that it has suffered “pecuniary damages,” Cmplt. ¶¶ 105, 111, 117,
                                                10
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    1         2.    Warner Bros. Has Adequately Alleged False Advertising.
    2         Defendants contend that Warner Bros.’ false advertising claims under the
    3 Lanham Act and California’s False Advertising Law (“FAL”), Cal. Bus. & Prof.
    4 Code § 17500, also must be dismissed for failure to comply with Rule 9(b)’s
    5 heightened pleading requirements. As pled, however, Warner Bros.’ claims do not
    6 depend on a finding of fraud and therefore are not subject to a heightened pleading
    7 requirement. See EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp., 711 F.
    8 Supp. 2d 1074, 1085 (C.D. Cal. 2010). And even if its claims were governed by
    9 Rule 9(b), Warner Bros. has satisfied the requirement. Its Complaint puts
   10 Defendants on “fair notice” of its claims, which is the operative pleading standard
   11 for any false advertising claims subject to Rule 9(b). See Bobbleheads.com, LLC v.
   12 Wright Bros., Inc., 259 F. Supp. 3d 1087, 1096 (S.D. Cal. 2017).
   13         As explained above, Warner Bros. has sufficiently alleged that Brian and
   14 Dawn Biggs direct and control all of the relevant activities of Random Tuesday,
   15 and that they have participated directly in the conduct that forms the basis of
   16 Warner Bros.’ claims. Accordingly, Defendants’ assertion that the Complaint
   17 contains “absolutely no allegations that Brian or Dawn Biggs made any
   18 misrepresentation” is incorrect for several reasons. Biggs Mot. 6. First, a
   19 company can only speak through its officers, employees, or agents, and here the
   20 ones doing the speaking invariably are Brian and Dawn Biggs. Second, as
   21 explained below, a fraudulent misrepresentation is not necessarily required to state
   22 a claim under California’s unfair competition or false advertising laws, and
   23
   24 130, 139, 144, 150, in order to satisfy the statutory requirement that a plaintiff
      show economic injury in the form of “lost money or property.” See Cal. Bus. &
   25 Prof. Code § 17204; see also Kwikset Corp. v. Superior Court, 51 Cal. 4th 310,
      321-22 (2011) (to have standing, a UCL plaintiff must allege pecuniary harm). In
   26 contrast to the Conte v. Jakks Pac, Inc., 2012 WL 6115632 (E.D. Cal. Dec. 10,
   27 2012) case cited by Defendants, Warner Bros. here has sought injunctive relief as a
      remedy for its UCL claim. See Cmplt. 50-52. Including an allegation to satisfy the
   28 UCL standing requirement is not grounds for dismissal of the claim.
                                                11
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    1 consequently Rule 9(b) does not apply to such claims.
    2         The Ninth Circuit has not addressed whether Rule 9(b) applies to the
    3 Lanham Act, and courts in this jurisdiction appear split over the issue. See
    4 Bobbleheads.com, 259 F. Supp. 3d at 1095 (collecting cases). Nevertheless, even
    5 when courts do apply the Rule 9(b) standard to Lanham Act claims, they do so
    6 only for Lanham Act claims grounded in fraud. See EcoDisc Tech., 711 F. Supp.
    7 2d at 1085; see also Rolex Watch U.S.A., Inc. v. Agarwal, 2012 WL 12886444, at
    8 *5 (C.D. Cal. Dec. 17, 2012) (if Rule 9(b) applies to the Lanham Act at all, it is
    9 only for claims “based on a pattern of fraudulent conduct”). Contrary to
   10 Defendants’ assertion, not all false advertising claims are “inherently grounded in
   11 fraud.” RT Mot. 13; see also Oracle Am., Inc. v. TERiX Computer Co., Inc., 2014
   12 WL 31344, at *10 (N.D. Cal. Jan. 3, 2014) (declining to apply Rule 9(b) to false
   13 advertising claim under the Lanham Act); see also Vess, 317 F.3d at 1105 (“Where
   14 averments of fraud are made in a claim in which fraud is not an element, an
   15 inadequate averment of fraud does not mean that no claim has been stated.”).
   16         For California state law claims, there is no particular heightened pleading
   17 standard for garden-variety false advertising claims. See Brady v. Bayer Corp., 26
   18 Cal. App. 5th 1156, 1164-74 (2018) (considering, in part, common sense and the
   19 misleading nature of the brand name, and calling the analysis a question of fact).
   20 “[T]o state a claim under either the UCL or the [FAL], based on false advertising
   21 or promotional practices, it is necessary only to show that members of the public
   22 are likely to be deceived.” Veera v. Banana Republic, LLC, 6 Cal. App. 5th 907,
   23 914-15 (2016) (second alteration in original) (citation and quotation omitted).
   24 Warner Bros. has met that showing, by describing with specificity which products
   25 and advertisements were likely to mislead the public. Warner Bros. has provided
   26 examples of statements and products likely to deceive consumers, including
   27 medals replicating protected images and marks, Cmplt. ¶¶ 69-71, and apparel
   28 emblazoned with protected images and marks, id. ¶¶ 76, 78, 86, 89. Defendants
                                                12
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    1 also use Warner Bros.’ images and trademarked phrases across their website and
    2 social media webpages, thereby implying a false affiliation. Id. ¶¶ 68, 84, 91.
    3        As these allegations show, even if Warner Bros.’ claims were found to be
    4 grounded in fraud and subject to Rule 9(b), Warner Bros. has pled its claims with
    5 sufficient particularity. See, e.g., Bobbleheads.com, 259 F. Supp. 3d at 1096 (“fair
    6 notice” of claims satisfies Rule 9(b) requirement); Clorox Co. v. Reckitt Benckiser
    7 Grp. PLC, 398 F. Supp. 3d 623, 636 (N.D. Cal. 2019) (“at the pleading stage the
    8 plaintiff need only allege specific misleading statements and explain why they are
    9 misleading”); SPS Techs., LLC v. Briles Aerospace, Inc., 2019 WL 6841992, at *9
   10 (C.D. Cal. Oct. 30, 2019) (same). Warner Bros. has filed a 52-page complaint,
   11 wherein it describes in detail how and when Defendants used Warner Bros.’
   12 trademarks and copyrighted images to create a false impression of association,
   13 sponsorship, or endorsement. The Complaint even contains extensive
   14 photographic evidence and side-by-side comparisons. See Cmplt. ¶¶ 66-91.
   15        Furthermore, courts have considered certain pre-litigation interactions and
   16 identification of infringement “enough to give Defendants fair notice of the alleged
   17 fraudulent conduct so that they can adequately defend against the charge.”
   18 Bobbleheads.com, 259 F. Supp. 3d at 1096 (plaintiff had sent cease-and-desist
   19 letters identifying the infringement and where on the defendants’ websites it
   20 existed). Here, as Defendants concede, Warner Bros. contacted Defendants about
   21 their infringing and misleading conduct long before filing this action and provided
   22 detailed examples of the misleading products and advertisements. See RT Mot. 1-
   23 2; see also Cmplt. ¶ 9. Defendants have long been on fair notice of the claims
   24 against them and cannot now assert that they are unable to adequately understand
   25 or defend against these claims.
   26        3.     Warner Bros. Is Not Required to Plead Its Own Reliance.
   27        Defendants assert that the UCL and FAL require Warner Bros. to plead its
   28 “own actual reliance.” RT Mot. 15. But competitors—as opposed to consumers—
                                                13
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    1 are not required to personally rely on a defendant’s misleading statements in order
    2 to bring a UCL or FAL claim. See, e.g., VP Racing Fuels, Inc. v. Gen. Petroleum
    3 Corp., 2010 WL 1611398, at *2-3 (E.D. Cal. Apr. 20, 2010) (recognizing plaintiff
    4 was “injured by consumer reliance upon Defendant’s misrepresentations,” which
    5 “resulted in competitive harm and diverted sales”). Here, Warner Bros. has
    6 provided numerous examples of products that directly infringe upon and compete
    7 with Warner Bros.’ own merchandise, as well as numerous examples of statements
    8 and images on Defendants’ website and social media webpages that create a
    9 misleading and deceptive impression that Defendants’ business activities and
   10 merchandise are sponsored by, approved by, or otherwise associated with Warner
   11 Bros. See, e.g., Cmplt. ¶¶ 66-91. Moreover, an actual consumer has complained to
   12 Warner Bros. that she was induced to contribute substantial sums of money to
   13 Defendants’ business because she mistakenly believed that Defendants were
   14 approved by and/or affiliated with Warner Bros. Id. ¶ 8; see also id. ¶¶ 114, 142.
   15 When the consumer raised concerns to Defendants, Defendants reportedly assured
   16 her that they had Warner Bros.’ “permission for proprietary material.” Id. ¶ 8.
   17        Ignoring these allegations, Defendants cite In re Tobacco Cases II, 46 Cal.
   18 4th 298 (2009), a class action involving claims by consumers that they had been
   19 misled by cigarette advertising. RT Mot. 15. The Tobacco Cases II court
   20 addressed the requirement under Proposition 64 that a plaintiff asserting a claim
   21 under the UCL or FAL establish that she suffered a pecuniary loss of money or
   22 property as a result of the challenged statements. See Tobacco Cases II, 46 Cal.
   23 4th at 325-26; see also Cal. Bus. & Prof. Code § 17204 (actions may be brought by
   24 “a person who has suffered injury in fact and has lost money or property as a result
   25 of the unfair competition”). In the context of a claim by consumers, the court held
   26 that the pecuniary loss element required a showing of the consumer’s actual
   27 reliance on the statements at issue. Tobacco Cases II, 46 Cal. 4th at 326.
   28        In the context of a claim by a competitor, however, a requirement that the
                                                14
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    1 plaintiff plead and prove its own personal reliance on an allegedly misleading
                                      9
    2 statement makes little sense. As the court observed in VP Racing, “[t]he purpose
    3 of the UCL is to protect both consumers and competitors by promoting fair
    4 competition in commercial markets for goods and services.” VP Racing, 2010 WL
    5 1611398, at *3 (citation and quotation omitted). Thus, outside of a consumer
    6 claim, the required pecuniary loss element may be shown in other ways. For
    7 example, a plaintiff could show the statements at issue are “likely to mislead or
    8 deceive” the public. Day v. AT&T Corp., 63 Cal. App. 4th 325, 332 (1988); see
    9 also Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 258 (2011) (“Unlike
   10 common law fraud, a UCL fraud claim can be shown even without allegations of
   11 actual deception, reasonable reliance and damage; what is required to be shown is
   12 that members of the public are likely to be deceived.”) (citation omitted).
   13           A plaintiff also may satisfy this economic injury requirement by showing
   14 that “a present or future property interest has been diminished.” Kwikset, supra, 51
   15 Cal. 4th at 323. In Kwikset, the California Supreme Court explained that an
   16 intellectual property owner would have standing to sue a counterfeiter under the
   17 UCL, even though the owner would not personally be fooled or misled by the fake.
   18 Id. at 329-30 (“A counterfeit Rolex might be proven to tell the time as accurately
   19 as a genuine Rolex and in other ways be functionally equivalent, but we do not
   20 doubt the consumer (as well as the company that was deprived of a sale) has been
   21 economically harmed by the substitution in a manner sufficient to create standing
   22 to sue.”) (emphasis added); see also Luxul Tech. Inc. v. Nectarlux, LLC, 78 F.
   23 Supp. 3d 1156, 1173-74 (N.D. Cal. 2015) (finding allegations of lost customers
   24 and sales and damage to brand sufficient).
   25           Thus, Warner Bros. has sufficiently alleged the harm it has suffered due to
   26 consumer reliance on Defendants’ misleading and deceptive statements about
   27   9 And
            the Tobacco Cases II court expressly declined to comment on how this
   28 requirement should be construed in other kinds of cases. See id. at 325 n.17.
                                                  15
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    1 sponsorship, approval, and/or affiliation, and Defendants’ “reliance” argument
                                       10
    2 provides no basis for dismissal.
    3 D.      Warner Bros. Has Adequately Pled Its Trademark and Copyright
    4         Claims Against Brian and Dawn Biggs, and the Complaint Does Not
    5         Establish that Any Claim Is Barred by the Statute of Limitations.
    6         On pages 6 through 9 of their separate Motion, Brian and Dawn Biggs
    7 mostly cross-reference the RT Motion and incorporate its arguments by reference.
    8 See Biggs Mot. 6-9. Warner Bros. has addressed those arguments in Sections
    9 III.B, III.C, and III.E of its RT Opposition, and, as explained above, incorporates
   10 those opposing arguments by reference herein. RT Opp’n 7-23. Woven
   11 throughout the Biggs Motion, however—and throughout the RT Motion as well—
                                                                                 11
   12 is a specious statute of limitations argument that will be addressed here.
   13         As a threshold matter, Defendants’ limitations argument turns fundamental
   14 pleading rules on their head. Defendants pretend it is incumbent upon a plaintiff to
   15 specify precisely when every alleged act by a defendant took place or risk
   16 dismissal at the pleading stage based on the statute of limitations. That is exactly
   17 backwards. In fact, when a motion to dismiss is based on the running of a statute
   18 of limitations, the running of the statute must be “apparent on the face of the
   19 complaint” and the motion “can be granted only if the assertions of the complaint,
   20 read with the required liberality, would not permit the plaintiff to prove that the
   21 statute was tolled,” Jablon v. Dean Witter & Co., 614 F.2d 677, 682 (9th Cir.
   22 1980), or that the claim was not otherwise time-barred, Pak’s Trading Europe B.V.
                                                                     12
   23 v. Target, 2018 WL 8333362, at *5 (C.D. Cal. July 5, 2018).
   24
        10 Defendants
                  also raise an unsupported statute of limitations argument. RT Mot.
   25 13, 16. Warner Bros. addresses this argument below in Section II.D.
   26   11 BecauseDefendants also make these arguments collectively, for ease of
   27 reference, Warner  Bros. refers to Defendants collectively herein.
      12 See also generally Judge Virginia A. Phillips & Judge Karen L. Stevenson, CAL.
   28
      PRAC. GUIDE: FED. CIV. PRO. BEFORE TRIAL Ch. 9-D (The Rutter Group, updated
                                                16
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    1           Here, Defendants do not even attempt to show—and cannot show—that the
    2 running of the four-year limitations period for any of the disputed claims is
    3 “apparent on the face of the complaint,” such that a motion to dismiss on this basis
                           13
    4 can be granted.           Aside from being premature and improper on a motion to
    5 dismiss, Defendants’ statute of limitations argument also appears to be grounded in
    6 a fundamental misconception as to how statutes of limitations operate.
                                                                 14
    7           The limitations period for Lanham Act claims, common law unfair
    8 competition (passing off) claims, and common law trademark infringement claims
                      15
    9 is four years.       See, e.g., Move Press, LLC v. Peloton Interactive, Inc., 2019 WL
   10 4570018, at *3 (C.D. Cal. Sept. 5, 2019); Luna Distrib. LLC v. Stoli Grp. (USA),
   11 LLC, 2018 WL 5099277, at *11-12 (C.D. Cal. July 10, 2018); Eliminator Custom
   12 Boats v. Am. Marine Holdings, Inc., 2007 WL 4978243, at *3, *7 (C.D. Cal. Nov.
   13
        Apr. 2020).
   14
      13 To the extent Defendants desire to dispute the accrual and/or discovery dates of
   15 Warner Bros.’ claims, or seek to prove that they ceased certain infringing conduct
   16 more than four years before the Complaint was filed—neither of which they have
      even attempted to do in their Motions—those are factual issues to be developed
   17 during discovery and cannot be decided on a Rule 12 motion.
   18   14Some courts have suggested that Lanham Act claims are governed solely by
        laches, not by a statute of limitations. See Herman Miller, Inc. v. Blumenthal
   19   Distrib., Inc., 2019 WL 1416472, at *20 (C.D. Cal. Mar. 4, 2019) (citing Jarrow
   20   Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 836 (9th Cir. 2002)).
        Defendants presumably did not raise a laches argument because it would require a
   21   fact-laden consideration of the reasonableness of any delay in bringing suit and the
        prejudice, if any, suffered by Defendants. See id. at *20-21 (noting the
   22   “application of laches depends on a close evaluation of all the particular facts in a
   23   case” and therefore is “seldom susceptible of resolution by summary judgment”).
        15 Inarguing for a two-year limitations period for the common law trademark
   24
        infringement claim, Defendants rely on dicta in an apparent outlier opinion, V.V.V.
   25   & Sons Edible Oils, which referenced a sixty-year-old case that in turn cited an
        outdated and/or inapplicable statute. V.V.V. & Sons Edible Oils Ltd. v. Meenakshi
   26   Overseas LLC, 2016 WL 1268008, at *10 (E.D. Cal. Mar. 31, 2016) (citing
   27   Murphy v. Hartford Acc. & Indem. Co., 177 Cal. App. 2d 539, 544 (1960)).
        Moreover, the V.V.V. & Sons Edible Oils court found the claim at issue timely
   28   “[r]egardless of whether a four year or two year statute of limitations applies.” Id.
                                                  17
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    1 5, 2007); Bigfoot Ventures, LLC v. Compania Mexicana de Aviacion, S.A. de C.V.,
    2 2010 WL 2985832, at *3 (S.D. Cal. July 23, 2010). As Defendants point out, the
    3 limitations period for claims under California Business & Professions Code
    4 Sections 17200 and 17500 and for federal and state dilution claims is also four
    5 years. See, e.g., Cal. Bus. & Prof. Code § 17208; Miller v. Glenn Miller Prods.,
    6 Inc., 454 F.3d 975, 997 n.11 (9th Cir. 2006); see also RT Mot. 16.
    7         In order for a claim to be subject to dismissal on this basis, all of the conduct
    8 by Defendants alleged to support that claim would have to have occurred outside
    9 the limitations period. E.g., Chloe SAS v. Sawabeth Info. Servs. Co., 2014 WL
   10 4402218, at *3 (C.D. Cal. Sept. 5, 2014) (stating that even if one infringing act is
   11 outside the limitations period, another infringing act inside the period “might
   12 independently redeem that particular trademark”). That is not true for any claim in
   13 the Complaint, and Defendants do not even attempt to make such a showing. In
   14 fact, all of Warner Bros.’ trademark claims are based entirely on conduct by
   15 Defendants that occurred within the past four years. Defendants do not identify a
   16 single act of alleged infringement that occurred entirely outside the limitations
   17 period, let alone establish that an entire claim is based on time-barred conduct.
   18         Defendants appear to assume that in the case of a continuing violation or an
   19 ongoing course of infringing conduct, Warner Bros. is somehow barred from suing
   20 over conduct that occurred during the limitations period, if the allegedly infringing
   21 course of action commenced more than four years ago. That is not how the statute
   22 of limitations works for intellectual property claims. To the contrary, a trademark
   23 owner may sue over any act of infringement that occurred during the relevant
   24 limitations period. See, e.g., Chloe SAS, 2014 WL 4402218, at *4-5; Sonoma
   25 Foods v. Sonoma Cheese Factory, 2007 U.S. Dist. LEXIS 96733, at *8-9 (N.D.
   26 Cal. Apr. 3, 2007). The statute of limitations may cut off the relevant damages
   27 period, preventing the owner from recovering damages attributable to acts that
   28 occurred outside the limitations period, but it does not bar a claim entirely. See,
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    1 e.g., 6 J. Thomas McCarthy, MCCARTHY ON TRADEMARKS AND UNFAIR
    2 COMPETITION § 31:33 (5th ed. June 2020) (“Usually, infringement is a continuing
    3 wrong, and a statute of limitations is no bar except as to damages beyond the
    4 statutory period.”); Chloe SAS, 2014 WL 4402218, at *4-5; Sonoma Foods, 2007
    5 U.S. Dist. LEXIS 96733, at *8-9; see also Wolf v. Travolta, 167 F. Supp. 3d 1077,
    6 1102, 1107 (C.D. Cal. 2016) (affirming that the discovery rule and the separate-
    7 accrual rule (or continuous accrual doctrine) apply to California UCL claims).
    8         Defendants’ position is completely without support—and for good reason, as
    9 it would lead to unreasonable and wasteful results. Trademark and copyright
   10 owners would be required to sue early and often, without taking time to assess
   11 whether ongoing infringing conduct posed a significant enough problem to invest
   12 in litigation, or to explore an amicable resolution that does not require involving
   13 the court system.
   14         As the Supreme Court explained in the copyright context: “If the rule were,
   15 as MGM urges, ‘sue soon, or forever hold your peace,’ copyright owners would
   16 have to mount a federal case fast to stop seemingly innocuous infringements, lest
   17 those infringements eventually grow in magnitude. Section 507(b)’s three-year
   18 limitations period ... allows a copyright owner to defer suit until she can estimate
   19 whether litigation is worth the candle. She will miss out on damages for periods
   20 prior to the three-year look-back, but her right to prospective injunctive relief
   21 should, in most cases, remain unaltered.” Petrella v. Metro-Goldwyn-Mayer, Inc.,
   22 572 U.S. 663, 682-83 (2014) (emphasis added) (citation omitted). Similarly, “a
   23 trademark owner is not required to constantly monitor every nook and cranny of
   24 the entire nation and to fire both barrels of [its] shotgun instantly upon a possible
   25 trigger.” QS Wholesale, Inc. v. Rox Volleyball, Inc., 2015 WL 4484219, at *7
   26 (C.D. Cal. July 19, 2015) (alteration in original) (citation and quotation omitted).
   27         Defendants further assert that, with two exceptions, Warner Bros. “neglected
   28 to provide dates in connection with any of its claims.” RT Mot. 19. That assertion
                                                19
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    1 is both irrelevant and demonstrably false. It is irrelevant because, as explained
    2 above, a plaintiff is not required to specify the date of each and every unlawful act
    3 alleged in a complaint or face dismissal on limitations grounds at the pleading
             16
    4 stage.       On the contrary, as explained above, a Rule 12 motion to dismiss can be
    5 granted based on statute of limitations grounds only in the rare case where all facts
    6 necessary to establish the limitations defense appear on the face of the complaint.
    7 See Jablon, 614 F.2d at 682. Defendants do not point to any allegations in the
    8 Complaint that affirmatively establish that an entire claim is time-barred, and there
    9 are no such allegations.
   10          Defendants’ assertion is also false in that it ignores the numerous occasions
   11 throughout the Complaint where Warner Bros. does identify the approximate time
   12 when Defendants engaged in various acts of infringement, including as follows:
   13                 In late 2018, Defendants “introduced a proliferation of merchandise in
   14                  their online store that made prominent use of the HP Marks,”
   15                  including “a line of trucker hats that feature close variations of the
   16                  Hogwarts house names,” Cmplt. ¶ 81;
   17                 In connection with a 2018 race event, Defendants “have offered for
   18                  sale apparel bearing a copyrighted image of the ‘Fluffy the Dog’
   19                  character from the Harry Potter fictional universe,” id. ¶ 78;
   20                 Defendants continue to include a “Perfect Prefect Hall of Fame” that
   21                  uses “themes, styles, images, and other intellectual property owned by
   22                  Warner Bros.,” id. ¶ 80 (images of example previous Perfect Prefect
   23                  Hall of Fame);
   24                 Following their January 2019 name change, Defendants “have
   25                  continued to sell water bottles, stickers, magnets, Christmas
   26
   27   Yet this appears to be just what Defendants seek. See RT Mot. 19 (asserting that
        16
      Warner Bros. did not put enough specific dates in the Complaint and therefore the
   28 dilution claims “should be seen as time-barred and be dismissed”).
                                                    20
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    1                 ornaments, and other merchandise featuring the Hogwarts Running
    2                 Club name and crest,” id. ¶ 73;
    3                Defendants “recently began offering for sale dog tags emblazoned
    4                 with the HOGWARTS variation ‘Dogwarts,’ as well as variations of
    5                 the Hogwarts House names,” and with messages referencing the
    6                 MINISTRY OF MAGIC, id. ¶ 81; and
    7                “Defendants have recently hosted and promoted several ‘virtual run’
    8                 races that conspicuously trade on the HP Marks and their popular
    9                 appeal,” including an August 2019 race centered on the popular Harry
   10                 Potter magical creature, the “Pygmy Puff”; a September 2019 race
   11                 themed “Platform Year Six”; a January 2020 race centered on famous
   12                 Harry Potter characters’ “escape from Gringotts and the freeing of the
   13                 Ukrainian Ironbelly dragon”; and a March 2020 race themed
   14                 “Undesirable No. 2,” a reference to titular character Harry Potter that
   15                 used the Ministry of Magic logo, id. ¶¶ 82-86.
   16         Because Defendants fail to establish that Warner Bros.’ claims are time-
   17 barred, and that this time-bar is apparent on the face of the Complaint, this Court
   18 can and should reject Defendants’ statute of limitations argument.
   19                               III.      CONCLUSION
   20         For all of the reasons set forth above and in the RT Opposition, Warner
   21 Bros. respectfully requests that the Court deny in its entirety the separate Motion to
   22 Dismiss filed by Brian and Dawn Biggs. To the extent Brian and Dawn Biggs
   23 alternatively move to strike or move for a more definite statement, these motions
   24 should also be denied. If, however, the Court finds the Complaint deficient in any
   25 way, Warner Bros. respectfully requests leave to amend to cure such deficiency.
   26
   27
   28
                                                   21
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    1   Dated: July 3, 2020               JENNER & BLOCK LLP
    2
    3                                       /s/ Andrew J. Thomas
    4                                          Andrew J. Thomas

    5
                                           Attorneys for Plaintiff
    6                                      WARNER BROS. ENTERTAINMENT INC.
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